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                             UNITED STA TES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

WATKINS LAW & ADVOCACY, PLLC

       Plaintiff,

               V.                                        Civ. A. No. l:17-cv-01974-ABJ

DEPARTMENT OF VETERANS AFFAIRS, et al.,

       Defendants.


                          DECLARATION OF DAVID M. HARDY

       I, David M. Hardy, declare as follows:

       (1)     I am the Section Chief of the Record/Information Dissemination Section

("RIDS"), Information Management Division ("IMO''), 1 at the Federal Bureau of Investigation

in Winchester, Virginia. I have held this position since August 1, 2002. Prior to joining the

Federal Bureau of Investigation ("FBI''), from May 1, 2001 to July 31, 2002, I was the Assistant

Judge Advocate General of the Navy for Civil Law. In that capacity, I had direct oversight of

Freedom of Information Act ("FOIA") policy, procedures, appeals, and litigation for the Navy.

From October 1, 1980 to April 30, 2001, I served as a Navy Judge Advocate at various

commands and routinely worked with FOIA matters. I am also an attorney who has been

licensed to practice law in the State of Texas since 1980.

       (2)      In my official capacity as Section Chief of RIDS, I supervise approximately 23 7

employees who staff a total of twelve ( 12) Federal Bureau oflnvestigation Headquarters

"FBIHQ'') units and two (2) field operational service center units whose collective mission is to



1
 In May 2018, the FBI changed the name of its Records Management Division C'RMD") to
IMD.
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effectively plan, develop, direct, and manage responses to requests for access to FBI records and

information pursuant to the FOIA, as amended by the OPEN Government Act of 2007 and the

OPEN FOIA Act of2009; the Privacy Act of 1974; the FOIA Improvement Act of2016;

Executive Order 13526; Presidential, Attorney General, and FBI policies and procedures;

judicial decisions; and other Presidential and Congressional directives. The statements contained

in this declaration are based upon my personal knowledge, upon information provided to me in

my official capacity, and upon conclusions and determinations reached and made in accordance

therewith.

       (3)       Due to the nature of my official duties, I am familiar with the procedures followed

by the FBI in responding to Plaintiffs request for information from its files pursuant to the

provisions of the FOIA, 5 U.S.C. § 552. Specifically, I am familiar with the FBI's handling of

the Freedom oflnformation Act ("FOIA") request submitted by Plaintiff for records provided by

the Department of Veterans Affairs ("VA") to the FBI concerning Memorandums of

Understanding ("MOUs" ), the National Instant Criminal Background Check System (''NICS"),

and any records memorializing FBI custody or control of such records all communications made

by or on behalf of the United States Attorney General to the VA. Additionally, I am familiar

with the FBI's handling ofa FOIA consultation sent to the FBI by DOJ, Office of Information

Policy ("OIP") concerning a DOJ document located by VA during the processing of Plaintiffs

request submitted to VA.

        (4)      The purpose of this declaration is to provide the Court and Plaintiff with an

explanation of the FBI's handling of Plaintiffs FOIA request. Additionally, this Declaration is

 in support of Defendant's Motion for Summary Judgment as the FBI has responded to each part

 of Plaintiffs FOIA request separately, rendering his complaint moot.



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                 ADMINISTRATIVE HISTORY OF PLAINTIFF'S FOIA REQUEST

       (5)         By email dated October 21, 2015, Plaintiff submitted a FOIA request to the FBI

seeking:

       a. each Memorandum of Understanding entered into between the United States
          Department of Veterans Affairs ("VA") and the United States Department of Justice
          ("DOJ"), Federal Bureau of Investigation ("FBI"), concerning or relating to
          submission by the VA to the DOJ/FBI of information on persons to be prohibited
          from purchasing a firearm, including but not limited to: the Memorandum of
          Understanding Between the United States Department of Veterans Affairs and the
          Federal Bureau of Investigation Regarding the National Instant Criminal Background
          Check System, dated February 27, 2012 (including all amendments, supplements,
          exhibits, and addenda thereto);

       b. all records (including all amendments, supplements, exhibits, and addenda thereto)
          which set out or reflect the providing of information (such as names of individuals)
          by the VA to the DOJ/FBI for inclusion in the National Instant Criminal Background
          Check System ("NICS"), including but not limited to the NICS Index Mental
          Defective Commitment File, including but not limited to any directive, guidance,
          policy, instruction, manual, procedure, guideline, standard, internal advice, message,
          checklist, flow chart, and/or memorandum with respect thereto;

       c. to the extent the FBI itself has custody or control of such records, all communications
          made by or on behalf of the United States Attorney General ("OAG") to the VA
          requesting or requiring that the VA submit to the DOJ/FBI information on persons to
          be prohibited from purchasing a firearm, and all communications from the VA in
          response thereto (on information and belief, OAG made such a request to the VA in
           1998) (this request does not seek the subsequent communications that actually
          provide inforn1ation concerning particular individuals).

(See Exhibit A.) The FOIA request specifically stated that "none of the aforementioned requests

seek disclosure of the names of individuals provided by the VA to the FBI, nor do they seek any

information protected under the Privacy Act."

           (6)     For administrative convenience, the FBI separated this FOIA request into three




                                                        3
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separate cases in its FOIPA Document Processing System ("FDPS")2 and will address its

responses to each part infra.



                        FOIPA Request Number 1338932-000 (Item "A'')

       (7)     By letter dated November 17, 2015, the FBI acknowledged receipt of Plaintiff's

request 3 and assigned it FOIPA Request Number 1338932-000. The FBl advised that it was

searching the indices to the Central Records System for information responsive to his request. 4

(See Exhibit B.)

        (8)    By letter dated January 20, 2016, the FBI advised Plaintiff it reviewed 12 pages of

responsive material and determined this material originated with, or contained information

concerning, other Government Agency(ies) [OGA]. 5 The FBI administratively closed the

request pending the completion of the consultation. (See Exhibit C.) This request was then re-

opened after the consultation was completed as FOIPA Request Number 1338932-001.

                                FOIPA Request Number 1338932-001

        (9)     On May 11 , 2016, the VA advised the FBI to release the 12 pages ofresponsive

material that the FBI had identified in response to Item A of the request in full to Plaintiff.

Therefore, the FBI reopened this part of Plaintiffs FOIA request and assigned it FOIPA Request

Number 1338932-001.



2
  FOPS is the internal repository and application utilized by RIDS to process, track, and respond
to FOIA and or Privacy Act ("FOIPA") requests received by FBI. It stores FOIPA related
records.
3
  See 1 Sa, supra. herein referred to as "item A."
4
  The FBI understood Plaintiffs request as seeking only the Memoranda of Understanding
(MOU) described in 1 Sa, supra. Plaintiffs request did not seek, for example, ancillary
documents related to the creation of the MOU .
5
  The FBI consulted with the VA for this part of the request.
                                                       4
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       (10)    By letter dated June 23, 2016, the FBI advised that its consultation was complete

and released 12 pages of responsive material to Plaintiff in full. (See Exhibit D.) The 12 pages

consisted of the February 27, 2012 MOU that was identified in Item A of the FOIA request, and

included any amendments, exhibits, or attachments to the MOU. The FBI did not locate any

other MOU between the FBI and the VA concerning or relating to submission by the VA to the

DOJ/FBI of information on persons to be prohibited from purchasing a firearm .

                       FOIPA Request Number 1338949-000 (Item "B'?

       (11)    By letter dated November 5, 2015, the FBI acknowledged receipt of Plaintiffs

request 6 and assigned it FOIPA Request Number 1338949-000.

       (12)    In light of the express language in the request excluding the names of individuals

(and other Privacy Act protected material) from the scope of the request, the FBI understood this

part of the request to seek documents regarding the process by which the VA provided names (or

other information) to the FBI for inclusion in the National Instant Criminal Background Check

System ("NICS"). That process is described in the MOU that the FBI produced in response to

Item A of the request. The FBI advised Plaintiff that it located 59 pages ofresponsive records

previously processed under the FOIA, but it was withholding the material in full pursuant to

FOIA Exemption (b)(7)(E). (See Exhibit E.) As discussed in paragraph 41 infra, the FBI

ultimately determined that these 59 pages were not responsive to the request.

        (13)   The NICS Index Mental Commitment File7, which also is referenced in the



6
  See ,i Sb, supra, herein referred to as "item B."
7
  When a record of a person prohibited from possessing a firearm as a result of mental health
issues (i.e., a person who has been involuntarily committed to a mental institution or adjudicated
a "mental defective" by a court, board, or other lawful authority) is entered in the NICS Indices,
the entry contains only a name, other biographic identifiers (e.g., date of birth), and codes for the
submitting entity and prohibited category. For further information, see:
https://wwv.1.bjs.gov/index.cfm?ty=tp&tid=49#terms
                                                      5
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request, is itself a listing of names and biographic identifiers of individuals who are prohibited

from possessing a firearm as a result of mental health issues. 8 Accordingly, the FBI determined

that file to be outside the scope of Plaintiff's request because the request specifically stated that it

was not seeking the production of names of individuals provided by the VA to the FBI or other

Privacy Act protected information.      Ultimately, the FBI found no records responsive to item B,

beyond the MOU itself that was released in response to item A of the request. The process by

which the VA provides names (or other information) to the FBI for inclusion in NICS is

described in the MOU that the FBI produced in response to the first part (item A) of the

request. As set forth in the MOU, at the time of the MOU , the process was for the VA to provide

encrypted compact discs with the data addressed in the MOU not less than on a quarterly basis. 9

Starting in June 2016, after the search cut-off date of November 3, 2015, associated with

Plaintiff's FOJA request, the VA began electronically transmitting the information to the FBI for

inclusion in NICS as described in the MOU. As discussed in paragraph 39 infra, the FBI

conducted a search for any cover letters or similar documentation which may have accompanied

the encrypted compact discs and was unable to locate any documents. As part of its search for

responsive documents further discussed infra, RIDS contacted the individual at the FBrs

Criminal Justice Information Services ("CJIS") who received the compact discs from the VA

pursuant to the MOU and that individual confirmed that there was no official correspondence

that the VA provided with the transmittal of the compact discs.

        (14)     By letter dated November 16, 2015, Plaintiff submitted an appeal to DO.I OIP



 8
   18 USC § 922(g)(4) prohibits the receipt or possession of firearms by an individual who has
 been "adjudicated as a mental defective" or "committed to a mental institution."
 9
   See Memorandum of Understanding Between the United States Department of Veterans Affairs
 and the Federal Bureau of Investigation Regarding the National Instant Criminal Background
 Check System dated February 27, 2012, Sections land V(B)(6).
                                                        6
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contesting the FBI's November 5, 2015 , response to his FOIA request number 1338949-000.

(See Exhibit F.)

          (15)    By letter dated November 18, 2015, OIP acknowledged receipt of Plaintiffs

appeal and assigned it appeal number AP-2016-00612. (See Exhibit G.)

          (16)    By letter dated March 16, 2016, OIP affirmed the FBI's response stating it

properly withheld the requested information in full under FOIA Exemption (b)(7)(E). OIP also

advised Plaintiff of his right to mediation services through the Office of Government Information

Services (OGIS). (See Exhibit H.)

                           FOIPA Request Number 1338965-000 (Item "C'')

          (17)    By letter dated November 10, 2015, the FBI acknowledged receipt of Plaintiffs

request 10 and assigned it FOIPA Request Number 1338965-000. The FBI advised that it was

searching the indices to the Central Records System for information responsive to his request.

(See Exhibit I.)

           (18)   By letter dated November 25, 2015, the FBI advised Plaintiff it conducted a

search of the FBI's Central Records System and was unable to locate any main file records

responsive to his request. Additionally, the FBI advised Plaintiff if he had additional information

to provide, the FBI would conduct an additional search. Finally, the FBI advised Plaintiff of his

right to file an appeal with OIP within sixty (60) days from the date of the letter in order to be

considered timely. (See Exhibit J.)

           (19)    On September 25, 2017, Plaintiff filed his complaint in the instant action. (See

Docket Number 1.)




 10
      See ,i 5c, supra, herein referred to as "item C."

                                                          7
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                               BACKGROUND ON THE NICS 11

       (20)    The NICS is a national system that checks available records on persons who may

be disqualified from receiving fireanns. Specifically, it is a computerized background check

system designed to respond instantly on most background check inquiries, which allows the

Federal Firearm Licensees ("FFLs") to receive an almost immediate response for information on

either: if a prospective buyer is eligible to buy firearms (e.g. ensuring the customer does not have

a criminal record or is not otherwise ineligible to make such a purchase) or if the transfer of a

firearm would be in violation of Section 922 (g) or (n) of Title 18, United States Code, or state

law. As described in paragraph 13 and fn 9 supra, the MOU between the FBI and the VA

requested in item A of the FOIA request sets forth a procedure for the VA to provide names and

other Privacy Act protected information of individuals who have certain mental health issues to

be included in the NICS. In addition to names of individuals, the information provided pursuant

to the MOU includes other Privacy Act protected information, such as date of birth, social

security number, sex, race, place of birth, height, weight, and category of prohibited or restricted

person under 18 U.S.C. § 922. 12

        (21)    The NICS Index Mental Commitment File, further described in paragraph 13

supra, and which also is referenced in item B of the FOlA request, is a listing of names and

biographic identifiers of individuals who are prohibited from possessing a firearm as a result of

mental health issues and includes individuals provided by the VA to the FBI under the MOU.

        (22)    NICS is located at the FBI's CJlS Division in Clarksburg, West Virginia and




 11
   For further information, see https://www.tbi.gov/services/cjis/nics.
 12
   See Memorandum of Understanding Between the United States Department of Veterans
 Affairs and the Federal Bureau of Investigation Regarding the National Instant Criminal
 Background Check System dated February 27, 2012, Sections V(A)(l-7).
                                                       8
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provides full service to FFLs in 30 states, five U.S. territories, and the District of Columbia.

Therefore, records related to the NICS are most likely located within CJIS Division.

                BACKGROUND ON THE FBI'S SEARCH FOR RECORDS

                                The FRI'S Central Records System

       (23)    The Central Records System ("CRS") is an extensive system of records consisting

of applicant, investigative, intelligence, personnel, administrative, and general files compiled and

maintained by the FBI in the course of fulfilling its integrated missions and functions as a law

enforcement, counterterrorism, and intelligence agency to include performance of administrative

and personnel functions. The CRS spans the entire FBI organization and encompasses the

records of FBI Headquarters ("FBIHQ"), FBI Field Offices, and FBI Legal Attache Offices

("Legats") worldwide.

        (24)    The CRS consists of a numerical sequence of files, called FBI "classifications,"

which are organized according to designated subject categories. The broad array of CRS file

classification categories include types of criminal conduct and investigations conducted by the

FBI, as well as categorical subjects pertaining to counterterrorism, intelligence,

counterintelligence, personnel, and administrative matters. For identification and retrieval

purposes across the FBI, when a case file is opened, it is assigned a Universal Case File Number

("UCFN'') consisting of three sequential components: (a) the CRS file classification number, (b)

the abbreviation of the FBI Office of Origin (" 00" ) initiating the file, and (c) the assigned

individual case file number for that particular subject matter. 13 Within each case file, pertinent




 13
   For example, in a fictitious file number of"l lZ-HQ-56789;" the "l lZ'' component indicates
the file classification, "HQ" indicates that FBI Headquarters is the FBI 00 of the file, and
"56789''is the assigned case specific file number.


                                                       9
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documents of interest are "serialized," or assigned a document number in the order which the

document is added to the file, typically in chronological order.

                             The CRS General Indices and Indexing

         (25)   The general indices to the CRS are the index or " key" to locating records within

the enormous amount of information contained in the CRS. The CRS is indexed in a manner

which meets the FBI' s investigative needs and priorities, and allows FBI personnel to reasonably

and adequately locate pertinent files in the performance of their law enforcement duties. The

general indices are arranged in alphabetical order and comprise an index on a variety of subject

matters to include individuals, organizations, events, or other subjects of investigative interest

that are indexed for future retrieval. The entries in the general indices fall into two category

types:

                    a. Main entry. This entry pertains to records indexed to the main subject(s)
                       of a file, known as "main file" records. The "main'' entry carries the name
                       of an individual, organization, or other subject matter that is the
                       designated subject of the file.

                    b. Reference entry. This entry, or a "cross-reference," pertains to records
                       that merely mention or reference an individual, organization, or other
                       subject matter that is contained in a "main" file record about a different
                       subject matter.

         (26)   FBI Special Agents ("SA") and/or designated support personnel may index

information in the CRS by individual (persons), by organization (organizational entities, places,

and things), and by event (e.g., a terrorist attack or bank robbery). Indexing information in the

CRS is based on operational necessity, and the FBI only indexes that information considered

relevant and necessary for future retrieval. Accordingly, the FBI does not index every individual

name or other subject matter in the general indices.



                                      Automated Case Support

                                                       10
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       (27)    Automated Case Support ("ACS") was an electronic, integrated case management

system that became effective for FBIHQ and all FBI Field Offices and Legats on October I,

I 995. As part of the ACS implementation process, over I 05 million CRS records were

converted from automated systems previously utilized by the FBI into a single, consolidated case

management system accessible by all FBI offices. ACS had an operational purpose and design

to enable the FBI to locate, retrieve, and maintain information in its files in the performance of

its myriad missions and functions. 14

       (28)    The Universal Index ("UNI") was the automated index of the CRS and provided

all offices of the FBI a centralized, electronic means of indexing pertinent investigative

information to FBI files for future retrieval via index searching. Individual names were recorded

with applicable identifying information such as date of birth, race, sex. locality, Social Security

Number, address, and/or date of an event. Moreover, ACS implementation built upon and

incorporated prior automated FBI indices; therefore, a search employing the UNI application of

ACS encompassed data that was already indexed into the prior automated systems superseded by

ACS. As such, a UNI index search in ACS was capable of locating FBI records well before its

1995 FBI-wide implementation until the system was decommissioned on August 1, 2018, in both

paper and electronic format. 15



14
  ACS was and the next generation Sentinel system is relied upon by the FBI daily to fulfill
essential functions such as conducting criminal, counterterrorism, and national security
investigations; background investigations; citizenship and employment queries, and security
screening, to include Presidential protection.

 15
  Older CRS records that were not indexed into UNI as a result of the 1995 ACS consolidation
remain searchable by manual review of index cards, known as the "manual indices.'· A search of
the manual indices is triggered for requests on individuals if the person was born on or before
January 1, 1958; and for requests seeking information about organizations or events on or before
January 1, 1973. In this case, Plaintiff's search request was for records between 2008 and 20 I 6;
therefore, any responsive records would have been captured through a UNI search.
                                                      lI
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                                        A CS and Sentinel

       (29)    Sentinel is the FBI's next generation case management system that became

effective FBI-wide on July 1, 2012. Sentinel provides a web-based interface to FBI users, and it

includes the same automated application that was utilized in ACS. After July 1, 2012, all FBI

generated records are created electronically in case files via Sentinel; however, Sentinel did not

replace ACS and its relevance as an important FBI search mechanism. Just as pertinent

information was indexed into UNI for records generated in ACS before July 1, 2012, when a

record is generated in Sentinel, information is indexed for future retrieval. Moreover, there was

an index data sharing nexus between the Sentinel and ACS systems whereby information

indexed into Sentinel was replicated or "backfilled" into ACS. In sum, the Sentinel case

management system built on ACS and shared its operational purpose; Sentinel provides another

portal to locate information within the vast CRS for FBI records generated on or after July 1,

2012. The CRC automated indices, available within Sentinel and UNI application of ACS, in

most cases represented the most reasonable means for the FBI to locate potentially responsive

records to FOIPA requests prior to August 1, 2018. 16 This is because these automated indices

offered access to a comprehensive, agency-wide set of indexed data on a wide variety of

investigative and administrative subjects. Currently, the FBI's automated indices consist of

approximately 120 million searchable records and are updated daily with newly indexed

material.




16
   On August 1, 2018, the ACS case management system was decommissioned and ACS data
was migrated into Sentinel including the ACS indices data and digitized investigative records
formerly available in ACS. Moreover, Sentinel retains the index search methodology and
function whereby the CRS is queried via Sentinel for pertinent indexed main or reference entries
in case files. All CRS index data from the UNI application previously searched via ACS is now
searched through the "ACS Search" function within Sentinel.
                                                     12
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                                           FDPS Retrieval

       (30)    RIDS conducts a search of FDPS for any FOIA/PA requests received by the FBI

via the retrieval function. A retrieval search allows RIDS employees to search FDPS by entering

search criteria in search fields to retrieve a hit-list ofrequests. From the hit-list, one can view all

available information about a request, such as requesters' names, subject of request, date

received, date closed, etc. A retrieval search of FDPS will locate any records on the same topic

that had already been processed and released (i.e., "pre-processed records").

                            THE FBl'S SEARCH FOR RECORDS
                          RESPONSIVE TO PLAINTIFF'S REQUEST

        (31)    It is the FBI's practice to search the Central Records System ("CRS") to

determine if the FBI has records about a particular subject in response to most FOIPA requests.

However, in this particular case, Plaintiff requested memorandums, policies, and other

communication-related documents not specifically tied to an FBI investigation. Therefore, a

search of the CRS is not likely to identify all the responsive records.

        (32)    RIDS conducted a retrieval search of FDPS for Items A, B, and C. Additionally,

RIDS contacted the CJIS Division requesting it to conduct searches for information responsive to

Plaintiffs FOIA request. Finally, in an abundance of caution, RIDS conducted an ACS and

Sentinel search to ensure it identified all potentially responsive records.

                             FDPS Retrieval Search Results for Item A

        (33)    RIDS conducted a search ofFDPS for the memorandum between the VA and the

FBI about the NICS, dated February 27, 2012. RIDS conducted the retrieval search ofFDPS by

entering "Memorandum of Understanding between FBI and Veterans Administration" in the

subject field. This search found no previous FOIA requests responsive to Item A.

                             FDPS Retrieval Search Results for Item B

                                                        13
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          (34)    RIDS conducted a retrieval search of FOPS for policies and procedures

concerning the NICS. RIDS conducted the retrieval search of FOPS by entering "National

Instant Criminal Background" in the subject field. This search produced one previous FOIA

request seeking general policies and procedures related to the NICS. RIDS initially identified 59

pre-processed pages of material related to NICS policies and procedures responsive to Plaintiffs

request. RIDS' records library did not contain these records. RIDS contacted the CJIS Division

which provided 59 pages of material related to NICS policies and procedures.

          (35)    RIDS initially determined this 59 pages of material was responsive to item B of

Plaintiff's FOIA request, and therefore advised Plaintiff that 59 pages were previously processed

and were being withheld in full under FOIA Exemption (b)(7)(E).

                             FDPS Retrieval Search Results for Item C

          (36)    RIDS conducted a search of FOPS for all communications between the Attorney

General and Veterans administration, concerning requirements for prohibiting persons from

purchasing firearms. RIDS conducted the retrieval search of FOPS by entering "Communications

between the Attorney General and Veterans Administration" in the subject field. This search

found no previous FOIA requests with material responsive to Item C.

                                  CJJS Search for Items A, B, and C

          (3 7)   RIDS contacted CJIS because CJIS is the FBI division most likely to possess

responsive records in its internal archives. 17 In response to items A (FOIPA Request Number

1338932-000) and C (FOIPA Request Number 1338965-000), RIDS contacted the CJIS Division

and requested a search of CJIS' archives for anything responsive to Plaintiffs request. CJ IS

located 12 pages of material responsive to item A of Plaintiffs request, but did not locate any



 17
      See~ 22, supra.
                                                      14
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material responsive to item C.

       (38)    Following Plaintiff's filing of the instant complaint, RIDS contacted CJIS to

verify the results of their original search for items A and C. Specifically, RIDS personnel

identified the original author of the MOU ("the Author") and contacted the Author directly. The

Author confirmed the 12 pages of records are the only records available in the CJIS archives

responsive to Plaintiffs request. The Author also affirmed there is no alternative system or

archive where records responsive to items A or C would be stored.

       (39)    Additionally, RIDS requested CJIS search for records responsive to item B

(FOIPA Request Number 1338949-000). CJIS confirmed it did not locate anything responsive to

item B. Moreover, CJIS could not identify an alternative archive where records responsive to

item B would be stored. RIDS specifically requested that CJIS search for cover letters or similar

documentation which may have accompanied the encrypted compact discs provided from the VA

to the FBI pursuant to the MOU. CJIS conducted a search and was unable to locate any

documents. As part of its search for responsive documents, RIDS contacted the individual at

CJIS who received the compact discs from the VA pursuant to the MOU and that individual

confirmed that there was no official correspondence that the VA provided with the transmittal of

the compact discs. This individual also is not aware of any directive, formal guidance, policy. or

checklist governing the compact discs from the VA (other than to the extent reflected in the

MOU itself).

               Supplemental ACS and Sentinel Index Search/or Items A, B, and C

        (40)    Though RIDS deemed the original retrieval searches and subsequent searches as

well as the searches conducted by CJIS likely to find all responsive records, following Plaintiffs




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filing of the instant complaint, it also conducted a "string" 18 index search of ACS and Sentinel

using the following search terms to locate records responsive to items A, B, and C of Plaintiff's

request: "Veterans Affairs Gun," "VA Gun," "Veterans Affairs," "VA," "National Instant

Criminal Background Check Veterans Affairs," "National Instant Criminal Background Check

VA," "NICS Veterans Affairs," and "NICS VA." RIDS did not locate any additional responsive

records as a result of this search.

                     SUPPLEMENTAL REVIEW OF ITEM B RECORDS

        (41)    Following Plaintiffs filing of the instant complaint, RIDS reviewed de novo

Plaintiffs request and the 59 pages of material originally deemed responsive to Item B. RIDS

determined it incorrectly interpreted this part of Plaintiffs request. RIDS' original interpretation

was overly broad. In an abundance of caution, RIDS examined the 59 pages closely to ensure it

did not contain any responsive material. RIDS determined all 59 pages are not responsive to

Plaintiffs specific request because the material does not "reflect the providing of information

(such as names of individuals) by the VA to the DOJ/FBI. .. [emphasis added]." See 1 5b, supra.

Thus, RIDS confirmed this material is not responsive. Instead the material relates to various

internal policies and procedures related generally to the FBI's use of the NICS for its own

purposes. The material is intended for use by CJIS personnel utilizing the NICS and includes

detailed descriptions of the NICS such as standard operating procedures for CJIS personnel using

the system and descriptions of the system ' s capabilities. The pages discuss processes generally

and do not address specifically any process for inclusion into the NICS of information provided



 18
    A "string search" is a search of all terms where the staiting characters match the characters
typed into the name field. Such a search will automatically capture variations that include these
starting characters. A string search is designed to bring up variations of the search term as long
as the starting characters of the indexed term match the starting characters of the search term
exactly.
                                                      16
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by the VA to the FBI under the MOU produced in response to item A of the request.

       (42)    In the event the court were to deem the 59 pages responsive to Plaintiffs request.

they are exempt from disclosure pursuant to FOIA Exemption (b)(7)(E). FOIA Exemption

(b)(7)(E) would be asserted to protect the pages at issue, the release of which would disclose

techniques and/or procedures for law enforcement investigations or prosecutions, or would

disclose guidelines for law enforcement investigations or prosecutions if such disclosure could

reasonably be expected to risk circumvention of the law. This exemption affords categorical

protection to techniques and procedures used in law enforcement investigations; it protects

techniques and procedures that are not well-known to the public as well as non-public details

about the use of well-known techniques and procedures. In this instance, disclosure of this

information would allow individuals to know the capabilities of the NlCS as well as the standard

operating procedures CJIS personnel use to conduct NICS operations. This knowledge could

allow individuals to individuals to adjust their behavior accordingly in an attempt to circumvent

the NICS and therefore reduce the system ' s effectiveness in checking available records on

persons who may be disqualified from receiving firearms. Because disclosure of this information

could reasonably be expected to impede the FBI' s effectiveness and potentially aid in

circumvention of the law, the FBI has properly withheld this information pursuant to FOJA

Exemption (b)(7)(E) in the event the court deems the information responsi ve to Plaintiffs

request.

                   PROCEDURAL HISTORY OF CONSULTATION FROM OIP

        (43)    On November 9, 2018, the FBI received a 19-page DOJ document containing FBI

equities from OIP for review and consultation. This document, DOJ's guide titled "Guidance to

Agencies Regarding Submission of Relevant Federal Records to the NICS" (herein "DOJ"s



                                                     17
            Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 18 of 50



NICS Guide"), was located by VA during the processing of Plaintiffs request submitted to VA.

Upon its review of this document, the FBI applied redactions pursuant to FOIA Exemptions

(b)(6), (b)(7)(C), and (b)(7)(E). On November 27, 2018, the FBI returned the document to OIP

for release to Plaintiff.

                   JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                                         EXEMPTION 7 THRESHOLD

          (44)    Before an agency can invoke any of the harms enumerated in Exemption (b )(7),

it must first demonstrate the records or information at issue were compiled for law enforcement

purposes. Pursuant to 28 USC§§ 533, 534, and Executive Order 12333 as implemented by the

Attorney General's Guidelines for Domestic FBI Operations ("AGG-DOM") and 28 CFR § 0.85,

the FBI is the primary investigative agency of the federal government with authority and

responsibility to investigate all violations of federal law not exclusively assigned to another

agency, to conduct investigations and activities to protect the United States and its people from

terrorism and threats to national security, and further the foreign intelligence objectives of the

United States. Under this investigative authority, the FBI operates NICS to ensure those lawfully

prohibited from purchasing firearms do not do so, allowing the FBI to assist in preventing crimes

of violence involving firearms. The responsive record at issue, DO.T's NICS Guide, was

compiled by DOJ as guidance for law enforcement agencies (DOJ agencies) to submit law

enforcement information to a law enforcement database (NICS), with the core purpose of

assisting in preventing crimes of violence involving firearms. Therefore, this information was

clearly created for a law enforcement purpose allowing for the application of Exemption 7.

           EXEMPTIONS 6 AND 7(C)-UNWARRANTED INVASION OF PERSONAL PRIVACY 19



 19
      The practice of the FBI is to assert Exemption (b)(6) in conjunction with Exemption (b)(7)(C).
                                                       18
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       (45)    U.S.C. § 552 (b)(6) exempts from disclosure "personnel and medical files and

similar files when the disclosure of such information would constitute a clearly unwarranted

invasion of personal privacy." 5 U.S.C. § 552 (b)(7)(C) exempts from disclosure "records or

information compiled for law enforcement purposes, but only to the extent that the production of

such law enforcement records or information ... could reasonably be expected to constitute an

unwarranted invasion of personal privacy."

       (46)     In withholding information pursuant to these two exemptions, the FBI is required

to balance the privacy interest of the individual mentioned in this record against any public

interest in disclosure. For purposes of this analysis, a public interest exists when information

would shed light on the FBI's performance of its mission to protect and defend the United States

against terrorists and foreign intelligence threats; to uphold and enforce the criminal laws of the

United States; and to provide leadership and criminal justice services to federal, state, municipal,

and international agencies and partners. In the instance detailed below, where information was

withheld pursuant to Exemptions (b)(6) and (b)(7)(C), the FBI determined the individual' s

privacy interest outweighed the public interest, if any, in the information. 20


(b)(6) and (b)(7)(C) Name and/or Identifying Information of FBI Support
                     Personnel



Although the balancing test for Exemption (b)(6) uses a "would constitute a clearly unwarranted
invasion of personal privacy" standard and the test for Exemption (b)(7)(C) uses the lower
standard of "could reasonably be expected to constitute an unwarranted invasion of personal
privacy," the analysis and balancing required by both exemptions is sufficiently similar to
warrant a consolidated discussion. The privacy interests are balanced against the public's
interest in disclosure under the analysis of both exemptions. As used in this declaration, the term
"identifying information" includes, but is not limited to, Social Security numbers, date of birth,
telephone numbers, and/or other personal information.
20
   As used in this declaration, the term "identifying information" includes, but is not limited to,
Social Security numbers, dates of birth, telephone numbers, and/or other personal information.


                                                      19
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       (47)    Within DOJ's NICS Guide, the FBI protected the name and identifying

information of an FBI support employee on page 15. This support employee was assigned to

handle tasks related to submission of data to NICS. He or she was, and possibly is, in a position

of access to information regarding official law enforcement investigations, and therefore could

become a target of harassing inquiries for unauthorized access to investigations and/or FBI

investigative data if his/her identity was released. Thus, this individual maintains substantial

privacy interest in not having his/her identity disclosed in this context, whether or not he/she is

currently employed by the FBI. In contrast, the FBI concluded no public interest would be

served by disclosing the identity of this FBI support employee to the general public because

his/her identity would not, itself~ significantly increase the public's understanding of the FBI's

operations and activities. Accordingly, after balancing this employee's substantial privacy

interest against the non-existent public interest, the FBI properly protected the name and

identifying information of this support employee pursuant to Exemptions (b)(6) and (b)(7)(C).

               EXEMPTION 7(E)-INVESTIGATIVE TECHNIQUES AND PROCEDl!RES

        (48)    5 U.S.C. § 552 (b)(7)(E) provides for the withholding of:

                law enforcement records which would disclose techniques and
                procedures for law enforcement investigations or prosecutions,
                or would disclose guidelines for law enforcement
                investigations or prosecutions if such disclosure could
                reasonably be expected to risk circumvention of the law.

        (49)    This exemption affords categorical protection to techniques and procedures used

in law enforcement investigations; it protects techniques and procedures that are not well-known

to the public as well as non-public details about the use of well-known techniques and

procedures.

        (50)    The FBI applied Exemption (b)(7)(E) on pages 17 and 18 of DOJ's NICS Guide



                                                      20
         Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 21 of 50



to protect a sensitive internal law enforcement email address utilized by the FBI to pursue its law

enforcement mission by receiving information from DOJ component agencies for inclusion in

NICS.

(b)(7)(E):     FBI Sensitive Law Enforcement Email Address

        (51)   Within DOJ's NICS Guide, the FBI protected a sensitive internal FBI email

address used to receive NICS related communications pursuant to Exemption (b)(7)(E). The

existence of internal email address usage is known, but not this specific email address used by

the FBI on a daily basis. With the current emerging news of data breaches and other hacking

attempts, it is highly likely the release of this type of information could allow criminals to exploit

the FBI's Information Technology ("IT") system. Criminals could use this information to gain

unauthorized access to internal law enforcement communications, review and manipulate data,

or otherwise interfere with the FBI's internal communications and disrupt official FBI business.

Such disruption could greatly reduce the FBI's and its law enforcement partners' abilities to

enforce firearms-related laws and impede NICS' law enforcement function . Unauthorized access

by individuals would allow them to 1) manipulate or alter data submitted by authorized local,

state, or federal agencies to NICS and as a result impede the law enforcement function ofNICS,

hindering local, state, or other federal law enforcement agencies' ability to enforce firearms-

related laws; 2) pose as authorized local, state, or federal agencies and submit inaccurate and/or

false information on behalf of these agencies to NICS and as a result impede the law

enforcement purpose of NICS ; and/or allow them to inundate the internal, NICS-related email

inbox with a large volume of communications and as a result overload or slow down NICS '

 internal communications, jeopardizing its law enforcement purpose. Thus, release of this

 information would enable criminals to circumvent the law and the FBI properly protected this



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information from disclosure pursuant to FOIA exemption (b)(7)(E).

                                         CONCLUSION

       (52)    The FBI conducted reasonable searches for responsible records. By letter dated

June 23, 2016, the FBI processed and released all material responsive to item A in full to

Plaintiff. The FBI inadvertently interpreted item B too broadly and corrected this issue upon

reexamination of the material. The FBI determined the material withheld in full is not

responsive to Plaintiffs request. Moreover, CJIS, the FBI office most likely to possess

responsive records, was unable to locate records responsive to this portion of Plaintiffs request.

Lastly, the FBI was also unable to locate responsive material related to the item C and advised

Plaintiff of such by letter dated November 25, 2015.

       (53)    Additionally, the FBI reviewed and applied redactions on a DOJ document as part

of a consultation from OIP. The FBI properly asserted Exemptions 6, 7(C), and 7(E) on the

document to withhold exempt FBI information. The FBI cannot segregate any of this withheld

information further as to do so would constitute an unwarranted and clearly unwarranted

invasion of an FBI employee ' s personal privacy; or would reveal information concerning an FBI

investigative technique/procedure risking circumvention of the law.

        (54)   Finally, Plaintiffs complaint alleges the FBI's improperly withheld 59 pages of

material in full. The FBI has now demonstrated that, in fact, this material is not responsive to

Plaintiffs request, and that it has fully complied with all other parts of Plaintiffs request. Thus,

Plaintiffs complaint is moot.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct, and that Exhibits A-J attached hereto are true and correct copies.

       Executed this   Jut    day of December, 2018.




                                              Record/Information Dissemination Section
                                              Information Management Division
                                              Federal Bureau of Investigation
                                              Winchester, Virginia




                                                     23
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY, PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ. A. No. I: 16-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS, et al.. )
                                        )
     Defendants.                        )
_________________)




                                Exhibit A
                Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 25 of 50


Mcguinn, Laun,n S. (RMD) (FBI)
From:                   Seth Watkins <WatklntQadduci.com>
Sent                    Wedneac:tay, October 21, 201511:15AM
To:                     FOIPARequest
Subj9ct:                FOIA Request


This is a request under the Freedom of lnfonnation Act C-FOIA·), 5 U.5.C. § 552.

On behalf of our requester client, we hereby request copies of the following records under
FOIA, preferably provided to the requesters undersigned attorney in electronic format (pdf):

1. each Memorandum of Understanding entered into between the United States Deparbnent
of Veterans Affairs (-VA•) and the United States Department of Justice rooJ"), Federal
Bureau of Investigation (·Fer). concerning or relating to submission by the VA to the DOJ/FBI
of information on persons to be prohibited from purchasing a firearm, including but not limited
to: the Memorandum d Understanding Between the United States Department of Veterans
Affairs and the Federal Bureau of Investigation Regarding the National Instant Criminal
Background Check System. dated February 27, 2012 (including all amendments,
supplements, exhibits, and addenda thereto);

2. all records (including all amendments, supplements. exhibits, and addenda thereto) which
set out or reflect the providing of information (such as names of individuals) by the VA to the
DOJ/FBI for inclusion in the National Instant Criminal Background Check System (..Ntcs·).
including but not limited to the NICS Index Mental Defective Commitment File, including but
not limited to any directive, guidance, policy, instruction, manual, procedure, guideline,
standard, Internal advice, message, checklist, flow chart, and/or memorandum With respect
thereto;
3. to the extent the FBI itself has custody or control of such records, all communications
made by or on behalf of the United States Attorney General c·oAG·) to the VA requesting or
requiring that the VA submit to the DOJ/FBI Information on persons to be prohibited from
purchasing a firearm, and all communications from the VA in response thereto (on information
and belief, OAG made such a request to the VA in 1998) (this request does not seek the
subsequent communications that actually provide information concerning particular
individuals).

NONE OF THE AFOREMENTIONED REQUESTS SEEK DISCLOSURE OF THE NAMES OF
INOMOUALS PROVIDED BY THE VA TO THE FBI, NOR DO THEY SEEK ANY
INFORMATION PROTECTED UNDER THE PRNACY ACT.

We hereby consent to pay all costs incurred for search, duplication a n d ~ llfnatet'ias up
to $250.00. If additional costs will be required. please contact me for my approval.

If any records are withheld from release, please identify the withheld records by producing
and providing to me an index pursuant to Vaughn v. Rosen, 484 F.2d 820, 826-28 (0.C. Cir.
1973):                                         .

                                                    1
              Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 26 of 50

If the FBI does not have custody or control over certain requested and responsive records but
knaws or believes that another component of DOJ subject to FOIA does, please forward this
FOIA Request to the appropriate person and inform us that you have done so.

Please respond within 20 business days in accordance with 5 U.S.C. § 552(a)(6)(A).

If you have any questions about this request, please contact me immediately by the means
listed below.

Thank you for your assistance with this matter.

Sincerely,
Isl
Seth A. Watkins

Seth A. Watkins, Ph.D.
ADDUCI, MASTRIANI & SCHAUMBERG LLP
1133 Connecticut Avenue, tM
Washington, DC 20036
Tel. 202-407-8647
Main FAX 202-466-2006
Email watkins@adduci.com

The information contained in this e-mail message may be privileged, confidential and protected from
disclosure. If you are not the intended recipient, any dissemination, distribution or copying is strictly
prohibited. If you think that you have received this email message in error, please email the sender at
''watkins@adduci.com." Thank you.




       This message has been scanned for malware by Websense. www.websense.com
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 27 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY, PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ. A. No. I: 16-cv-O 1974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS, et al.. )
                                        )
     Defendants.                        )
_____________)



                                Exhibit B
     Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 28 of 50

                                                                            U.S. Department of Justice




                                                                            Federal Bureau of Investigation
                                                                            Washington, D. C. 20535

                                                                            November 17, 2015

MR SETH WATKINS PHO
ADDUCI , MASTRIANI & SCHAUMBERG LLP
1133 CONNECTICUT AVENUE, NW
WASHINGTON , DC 20036

                                                                 FOIPA Request No. 1338932-000
                                                                 Subject MEMORANDUM OF
                                                                 UNDERSTANDING BETWEEN FBI AND VA
                                                                 (NATIONAL INSTANT CRIMINAL
                                                                 BACKGROUND CHECK SYSTEM -
                                                                 FEBRUARY 27, 2012)

Dear Mr. Watkins

        This acknowledges receipt of your Freedom of Information Act (FOIA) request to the FBI.

                   Your request has been received at FBI Headquarters for processing.

        r          Your request has been received at the ___ Resident Agency/ _ _ _ Field Office and
                   forwarded to FBI Headquarters for processing.

        r          You submitted your request via the FBl's eFOIA system

                   r        We have reviewed your request and determined that it is compliant with
                            the terms and conditions of the eFOIA system . You will continue to receive
                            correspondence online.

                   r        We have reviewed your request and determined that it is not in compliance with the
                            terms and conditions of the eFOIA system . Future correspondence will be mailed
                            to you.

                   We are searching the indices to our Central Records System for the information responsive
                   to this request. We will inform you of the results in future correspondence.

        r          The subject of your request is currently being processed for public release.   Documents will
                   be released to you upon completion.

        r          Release of responsive records will be made to the FBl 's FOIA Library (The Vault) ,
                   http:/vault.fbi .gov, and you will be contacted when the release is posted.

        r          Your request for a fee waiver is being considered and you will be advised of the decision at
                   a later date. If your fee waiver is denied, you will be charged fees in accordance with the
                   category designated below.
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 29 of 50

                  For the purpose of assessing fees , we have made the following determ ination :

                   r        As a commercial use requester, you will be charged applicable search. review. and
                            duplication fees in accordance with 5 USC§ 552 (a)(4)(A)(ii)(I).

                   r        As an educational institution, noncommercial scientific institution or representative
                            of the news media requester, you will be charged applicable duplication fees in
                            accordance with 5 USC§ 552 (a)(4)(A)(ii)(II) .

                            As a general (all others) requester, you will be charged applicable search and
                            duplication fees in accordance with 5 USC§ 552 (a)(4)(A)(ii)(III).




        Please check for the status of your FOIPA request at www.fbi.gov/foia by clicking on Check the
Status of Your FOIPA Request under Records Available Now located on the right side of the page. Status
updates are adjusted weekly . The status of newly assigned requests may not be available until the next
weekly update. If the FOIPA has been closed the notice will indicate that appropriate correspondence has
been mailed to the address on file.

        For questions regarding our determinations, visit the www.fbi .gov/foia website under "Contact Us."
The FOIPA Request number listed above has been assigned to your request Please use this number in all
correspondence concerning your request Your patience is appreciated .


          Should you disagree with any determination referenced in this letter, you may file an appeal by writing
to the Director, Office of Information Policy (OIP), U.S . Department of Justice, 1425 New York Ave. , NW, Suite
11050, Washington , D.C. 20530-0001 , or you may submit an appeal through OIP's eFOIA portal at
http://www.justice.gov/oip/efoia-portal.html. Your appeal to OIP must be postmarked or transmitted within
sixty (60) days from the date of this letter in order to be considered timely . The envelope and the letter should
be clearly marked "Freedom of Information Appeal." Please cite the FOIPA Request Number in any
correspondence to us for proper identification of your request




                                                                  Sincerely,


                                                                    ~
                                                                  David M. Hardy
                                                                  Section Chief,
                                                                  Record/Information
                                                                    Dissemination Section
                                                                  Records Management Division
    Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 30 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY, PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ. A. No. I: 16-cv-O 1974-AB.J
                                        )
DEPARTMENT OF VETERANS AFFAIRS, et al., )
                                        )

________________))
     Defendants.




                                Exhibit C
         Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 31 of 50

                                                                                       U.S. Department of Justice




                                                                                     Federal Bureau of Investigation
                                                                                    Washington, D. C. 20535

                                                                                    January 20, 2016

MR SETH WATKINS, PHO
ADDUCI , MASTRIANI & SCHAUMBERG LLP
1133 CONNECTICUT AVENUE , NW
WASHINGTON , DC 20036

                                                                          FOIPA Request No .: 1338932-000
                                                                          Subject Memorandum of Understand ing
                                                                          between FBI and VA
Dear Dr. Watkins

         This letter is in response to your Freedom of Information Act (FOIA) request

         Material consisting of 12 pages has been reviewed pursuant to Title 5, U.S Code, Section 552 and no
pages are being released at this time . Document(s) were located which originated with , or contained information
concerning , other Government Agency(ies) [OGA] . We care consulting with another agency and are awaiting their
response . Due to the fact that our office has no other information responsive to your FOIA request currently in our
possession , your request is being administratively closed at this time, pending the completion of the outstanding
consultation by our office. The FBI will correspond with you regarding those documents when the consultation is
completed .

           For your information, Congress excluded three discrete categories of law enforcement and national security
records from the requirements of the FOIA See 5 U S C. § 552(c) (2006 & Supp . IV (2010). This response is
limited to those records that are subject to the requirements of the FOIA This is a standard notification that is given
to all our requesters and should not be taken as an indication that excluded records do, or do not, exist

        For questions regarding our determinations, visit the www.fbi.gov/foia website under "Contact Us."
The FOIPA Request number listed above has been assigned to your request Please use this number in all
correspondence concerning your request Your patience is appreciated .

          Should you disagree with any determination referenced in this letter, you may file an appeal by writing to the
Director, Office of Information Policy (OIP), U.S. Department of Justice, 1425 New York Ave , NW, Suite 11050,
Washington , D.C. 20530-0001 , or you may submit an appeal through OIP's eFOIA portal
at http://www.justice.gov/oip/efoia-portal.html. Your appeal to OIP must be postmarked or transmitted within sixty
(60) days from the date of this letter in order to be considered timely. The envelope and the letter should be clearly
marked "Freedom of Information Appeal." Please cite the FOIPA Request Number in any correspondence to us for
proper identification of your request


                                                                          Sincerely,


                                                                           ~
                                                                          David M. Hardy
                                                                          Section Chief,
                                                                          Record/Information
                                                                           Dissemination Section
                                                                          Records Management Division

Enclosure
                     Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 32 of 50



                                                         EXPLAN.\TION OF EXEMPTIO~S

          Sl'BSE<TIONS OF TITLE 5, l '~JTED STATES C'ODE, SECTIO~ 552

(b)(I)    (A) specifically authorized under criteria estahlished hy an Lxecutive order to he kept secret in the interest of national de tense or foreign
          policy and (Al arc in fact properly classiticd to such F.xecuti\'c order:

(b)(2)    related solely to the internal personnel rules and practices of an agency:

(b)(3)    spccitically exempted from disclosure by statute (other than section 552b of this title). provided that such statute(/\) requires that tlu: mallers
          he withheld from the puhlic in such a manner as to leave no discretion on issue. or (I3) establishes particular criteria for \\ithholding or rctcrs
          to particular types of matters to be withheld:

(h)(-l)   trade secrets and commercial or financial information obtained from a person and pri\'ilegcd or contidcntial:

(b)(5)    inter-agency or intra-agency memorandums or letlers which would not be availahle by law lo a party other than an agency in litigation with
          the agency:

(b)(6)    personnel and medical tiles and similar tiles the disclosure of which would constitute a clearly unwarranted in\'asion of personal pri,acy:

(h)(7)    records or information compiled for law enforcement purposes. but only to the extent that the production of such law enforcement records or
          information ( /\ ) could reasonably be expected to interfere with enforcement proceedings. ( A ) would dcpri\'e a person of a right lo a fair
          trial or an impartial adjudication. ( C ) could reasonahly be expected to constitute an unwarranted invasion of personal pri\'acy. ( D ) could
          reasonahly be cxpccted to disclose the identity of confidential source. including a State. local. or forei gn agency or authority or any pri\'a\e
          institution which furnished information on a confidential basis. and. in the case of record or information compiled by a criminal lmv
          enforcement authority in the course ofa criminal investigation. or by an agency conducting a lawful natio nal security inte lligence
          investigation. information lim1ishcd by a confidential source. ( E) would disclose techniques and procedures for la\\ enforcement
          imestigations or prosecutions. or would disclose guidelines for law enforcement investigations or prosecutions if such disc losure could
          reasonably be expected to risk circumvention of the law. or ( F) could reasonably be expected to endanger the lilc or physical safety of any
          indi,idual:

(b)(8)    contained in or related to examination. operating. or condition reports prepared by. on behalf ot: or lor the use of an agency responsible for
          the regulation or supervision of financial institutions: or

(b)(9)    geological and geophysical information and data. including maps. conccrning wells.

          Sl'BSECTIO:\S OF TITLE 5, l ':\ITED STATES C'ODE, SEC'TION 552a

(d)(5)    information compiled in reason ah le anticipation of a civil action proceeding:

(i )(2)   material reporting investigali\'C efforts pertaining lo the enforcement of criminal law including efforts lo prevent. control. or reduce crime
          or apprehend criminals:

(k)( I)   information which is currently and properly classified pursuant to an Executive order in the interest nfthe nation al dctense or foreign policy.
          for example. information in\'Olving intelligence sources or methods:

(k)(2)    investigatory material compiled for law enforcement purposes. other than criminal. which did not result in loss of a right. benefit or pri,·ilegc
          under Federal programs. or ,\hich would identity a source who furnished information pursuant to a promise that his/her idcnt ity ,,ould be
          held in confidence:

(k)(3)    material maintained in connection with providing protcctive sen ices to the President of the llnited States or any other individual pursuant lo
          the authority of Title 18. United Stales Code. Section 3056:

(k)(-l)   required hy statute to be maintained and used solely as statistical records:

(k)(5)    imcstigatory material compiled so lely for the purpose of determining suitability. eli gibility. or qualifications for Federal civilian
          employment or for access to classified information. the disclosure of which would reveal the identity of the person ,vho furnished
          information pursuant to a promise that his/her identity would be held in confidence:

(k)(6)    testing or examination material used to determine indi, idual qualifications for appointment or promotion in Federal Go,ernmcnt se n ·ice he
          release of which would compromise the testing or examination process:

(k)(7)    material used to determine potential for promotion in the armed services. the disclosure of which would re,·cal the iden tity of the person
          who furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                                 FBl/00.J
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 33 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY, PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ. A. No. l:16-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS. et al., )
                                        )
     Defendants.                        )
_________________)



                                Exhibit D
     Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 34 of 50

                                                                           U.S. Department of Justice




                                                                              Federal Bureau of Investigation
                                                                              Washington, D. C. 20535


                                                                              June 23. 2016

OR SETH WATKINS, PHO
ADDUCI , MASTRIANI & SCHAUMBERG LLP
1133 CONNECTICUT AVENUE , NW
WASHINGTON , DC 20036

                                                                 FOIPA Request No. 1338932-001
                                                                 Subject: Memorandum of Understanding
                                                                 between FBI and VA

Dear Or. Watkins

         You were previously advised we were consulting with another agency concerning information located
as a result of your Freedom of Information Act (FOIA) request

         This consultation is complete. Material consisting of 12 pages has been reviewed pursuant to Title
5, U.S Code§ 552 , and this material is being released to you in its entirety with no excisions being made by
the FBI or by the Department of Veteran Affairs (VA).

           For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA See 5 U S. C § 552(c) (2006 & Supp. IV (2010) This
response is limited to those records that are subject to the requirements of the FOIA This is a standard
notification that is given to all our requesters and should not be taken as an indication that excluded records
do, or do not, exist

        For questions regarding our determinations, visit the www.fbi.gov/foia website under "Contact Us."
The FOIPA Request number listed above has been assigned to your request Please use this number in all
correspondence concerning your request Your patience is appreciated .

          You may file an appeal by writing to the Director, Office of Information Policy (OIP) , United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
may submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within sixty (60) days from the date of this letter in order to be considered timely.
If you submit your appeal by mail , both the letter and the envelope should be clearly marked "Freedom of
Information Act Appeal." Please cite the FOIPA Request Number assigned to your request so that it may be
easily identified.


                                                                 Sincerely,


                                                                 ~
                                                                  David M. Hardy
                                                                  Section Chief,
                                                                  Record/Information
                                                                   Dissemination Section
                                                                  Records Management Division


Enclosure
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 35 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY. PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ.A.No.1:16-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS. et al.. )
                                        )
  Defendants.     )
_________________ )




                                Exhibit E
           Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 36 of 50

                                                                                U.S. Department of Justice




                                                                                Federal Bureau of Investigation


                                                                                Washington, D.C. 20535


                                                                                November 5, 2015

MR SETH WATKINS PHO
ADDUCI , MASTRIANI & SCHAUMBERG LLP
1133 CONNECTICUT AVENUE , NW
WASHINGTON , DC 20036

                                                                           FOIPA Request No. 1338949-000
                                                                           Subject NATIONAL INSTANT CRIMINAL
                                                                           BACKGROUND CHECK SYSTEM
                                                                           (POLICIES AND PROCEDURES)
Dear Mr. Watkins


         Records responsive to your request were previously processed under the provisions of the Freedom of
Information Act (FOIA). Material consisting of 59 pages was previously reviewed and withheld in its entirety pursuant
to FOIA exemption (b)(7)(E) [5 U.S .C.§ 552(b)(7)(E)]. See enclosed Deleted Page Information Sheets and
Explanation of Exemptions.

          For your information, Congress excluded three discrete categories of law enforcement and national security
records from the requirements of the FOIA See 5 U.S. C. § 552(c) (2006 & Supp. IV (2010) This response is limited
to those records that are subject to the requirements of the FOIA This is a standard notification that is given to all our
requesters and should not be taken as an indication that excluded records do, or do not, exist

        For questions regarding our determinations, visit the www.fbi.gov/foia website under "Contact Us."
The FOIPA Request number listed above has been assigned to your request Please use this number in all
correspondence concerning your request Your patience is appreciated.

         You may file an appeal by writing to the Director, Office of Information Policy (OIP), U.S Department of
Justice, 1425 New York Ave , NW, Suite 11050, Washington , D.C. 20530-0001 , or you may submit an appeal through
OIP's eFOIA portal at http://www.justice.gov/oip/efoia-portal.html. Your appeal must be received by OIP within sixty
(60) days from the date of this letter in order to be considered timely. The envelope and the letter should be clearly
marked "Freedom of Information Appeal." Please cite the FOIPA Request Number in any correspondence to us for
proper identification of your request


                                                                           Sincerely ,


                                                                            ~
                                                                           David M. Hardy
                                                                           Section Chief,
                                                                           Record/Information
                                                                            Dissemination Section
                                                                           Records Management Division

Enclosures
                        Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 37 of 50



                                                            EXPLA:\ATIO:\ OF EXD1PTIONS

           Sl lBSECTIO:\S OF TITLE 5, l :\ITED ST.\ TES CODE, SECTIOi'i 552

(h)(l)     (A) specifically authorized under criteria established hy an Executive order to he ke pt sec ret in the interest or national defen se or fore ign
           policy and (B) are in fact properly class ified to such Executive order:

(h)(2)     related solely to the internal personnel rules and practices oi'an agency:

(h)(3)     specifically exempted from disclosure hy statute (other than section 552h of this title). provided that such statute (A) requires that the matters
           he \\ithheld from the public in such a manner as to lea,·e no discretion on issue. or (8) cstahlishcs particular criteria for \\ithholding or refers
           to particular types or matters to he withheld:

(h)(4)     trade secrets and commercial or linancial information ohtained from a person and privileged or confidential:

(h)(5)     inter-agency or intra-agency memorandums or kttcrs which would not he available hy law to a party other than an agency in litigation \\ith
           the agency:

(h)(6)     personnel and medical files and s imilar files the disc losure ol'\\'hich would constitute a clearly unwarranted im·asion of personal prh·acy:

(h)(7)     records or information compiled for law enforcement purposes. but only to the ex tent that the production of such la\\ enforcem ent records or
           information (A) could reasonably be ex pected to interfere \\ith enforcement proceedings. ( B) \\Ould deprive a person o f a right to a fair trial
           or an impartial adjudication. ( C) could reasonably he expected to constitute an unwarranted invasion of persona l privacy. ( D) could
           reasonably be expected to disclose the identity of confidential source. including a State. local. or foreign agency or authority or any private
           institution which furnished informatio n on a confidential bas is. and. in the case of record or information compiled by a <:riminal la\\
           enforcement authority in the course of a criminal investigation. or by an agency conducting a la,,ful national security intelligence
           inn:stigation. information furnished by a confidential so urce. ( E ) would disc lose techniques and procedures for la,, enforce ment
           investigations or prosecutions. or would di sclose guide lines for la" enforcement investigatio ns or prosecutions if such disc losure could
           reasonab ly he expected to risk circumvention o f the law. or ( F) could reasonably he ex pected to endanger the lile or physica l salety o f any
           indi,idual:

(h)(8)     contained in or related to examination. operating. or condition reports prepared by. on bchalfoC or for the use ofan agency rcsponsibk fo r the
           regulation o r super,ision of financi a l institutions: or

(h)(9)     geolog ical and geophysical information and data. including maps. concerning wells.

           SlBSE(TIONS OF TITLE 5, l iNITED STATES CODE, SECTION 552a

(d)(5)     informatio n compiled in reasonahle anticipation o f a c i, ii action proceeding:

(i)(2)     material reporting invcstigati,c efforts pertaining to the enforcement of criminal law including efforts to prevent. control. or reduce crime or
           apprehend criminals:

(k)( I)    information \\hich is currently and properly classilicd pursuant to an Executi ve order in the interest of the national de fe nse o r foreign po licy.
           for example. information im·olving intelligence sources o r methods:

(k)(2)     investigatory material compiled for la\\ enforcement purposes. other th an criminal. which did not result in loss ofa ri ght. benefit or pri,ilegt!
           under Federa l programs. or \\hich would identity a source who furnished information pursuant to a promise that his/her identity would be
           held in confidence:

(k)(3)     material maintained in connection w ith providing protecti,e sen ices to the President o f the United States or any other indi, idual pursuant
           to the a uthority of Title 18. United States Code. Section 3056:

(k)(4)     required by statute to be mainta ined and used solely as stati stical records:

(k)( 5 )   investigato ry material compi led so le ly for the purpose o f determining s uitabi lity. e li gibility. or qualilications for Federal c ivilian employment
           or for access to classi lied informatio n. the disclosu re of which \\Ou ld revea l the identity o f the person who furni shed information pursuant to
           a promise that his/her identity would be held in conlidcnce:

(k)(6)     testing or examination materia l used to determine individual qualifi cations fo r appointmen t nr promotion in Federal Go,·ernment sen·icc he
           release o f\\hich \\'Ould compromise the testing o r examina tion process:

(k)( 7 )   material used to determine potential fo r promotion in the armed services. the disclosure of which \\Ou ld re, ea l the identity of th e person
           \\ho furnished the material pursuant to a promise th at his/her identity would be held in con fi dence.

                                                                                                                                                            Fl31/D0.I
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 38 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY. PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ. A. No. l:16-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS. et al.. )
                                        )

_____________))
     Defendants.




                                Exhibit F
                                                                                                           ~
                    Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 39 of 50

                                                                                                                                          Protected
                                                     Request Summary Report
                             AP-2016-00612 I PB - Watkins, Seth [Other Requester]
Track:                              Simple                                 Date on Request:                       2015-11-16
Perfected:                                                                 Date Initially Received:               2015-11-16
Due:                                                                       Requester File Ref. #:
Computed:                                                                  Jacket Number:
0/flcer Assigned:                   Budcet, Portal                         Request Transfe"ed In:                 No
Decision Maker:                                                            Response Time:                         0
Deadline:                           30


Organization:                       Adduci, Mastriani & Schaumberg         Telephone:                             202-407-864 7
                                    LLP
Address:                            1133 Connecticut Avenue, NW            Fascimile:                             202-466-2006
                                    Washington, District of Columbia,      Other Telephone:
                                    20036                                  Email:                                 watkins@adduci.com
                                    UNITED STATES


Summary:


                                                                     ---------
Request Text:                       FOIA Appeal re FOIPA Request No. 1338949-000

                                    This will appeal the denial of information requested on behalf of our client under FOIA.
                                    Pending before the FBI is a FOIA request dated and emailed to the FBI on October 21 , 2015 (' FOIA Request'}.
                                    The FOIA Request was assigned FOIPA Request No. 1338949-000 and denied by the FBI by letter dated
                                    November 5, 2015 ("Denial' ). The letter states that 59 pages were withheld in their entirety under FOIA
                                    Exemption (b)(7)(E).

                                    The Denial fails to demonstrate, at all, how the release of the requested infonnation might create a risk of
                                    circumvention of the law. Nor does the Denial demonstrate how disclosure could reduce or nullify effectiveness
                                    of the National Instant Criminal Background Check System (' NICS' ).

                                    It is widely known that the U.S. Department of Veterans Affairs ("VA' ) reports the names of incompetent
                                    beneficiaries to the FBI, which then adds the names to NICS. Exemption 7(E) simply does not cover information
                                    that is widely known or that constitutes basic law enforcement techniques.

                                    Moreover, the Denial fails to provide a segregability analysis for each withheld document, identifying the
                                    proportions of exempt and non-exempt information and specifically explaining why the w ithheld information
                                    cannot be produced. The Denial, for example , fails to provide any explanation concerning why a basic contract
                                    under which the VA reports names to the FBI contains no segregable information (e.g., the Memorandum of
                                    Understanding Between the United States Department of Veterans Affairs and the Federal Bureau of
                                    Investigation Regarding the National Instant Criminal Background Check System, dated February 27, 2012).

                                     Please respond to this appeal within 20 business days in accordance w ith 5 U.S.C. § 552(a)(6)(A)(ii}.




11! 16/W15 3:10:26 PM I Priscilla Jones                                                                                           Page        1/ 2
Offlc8 of Information PoNcy
                                                                                                                      AccessPro Case Management
       Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 40 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY, PLLC            )
                                        )
     Plaintiff                          )
                                        )
            v.                          )   Civ.A.No.1:16-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS, et al., )
                                        )
     Defendants.                        )
_________________)




                                Exhibit G
          Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 41 of 50



                                                    U.S. Department of Justice



•
Telephone: (202) 51.:/-36-12
                                                    Office of Information Policy

                                                    Washington, D.C. 20530

                                                    November 18. 2015


Mr. Seth Watkins
Adduci, Mastriani & Schaumberg LLP
I 133 Connecticut A venue. NW
Washington. DC 20036
watki ns@adduc i.com

        Re: Request No. 1338949

Dear Mr. Watkins:

       This is to advise you that your administrative appeal from the action of the Federal
Bureau of Investigation was received by this Office on November 16.2015.

        The Office of Information Policy has the responsibility of adjudicating such appeals. In
an attempt to afford each appellant equal and impartial treatment, we have adopted a general
practice of assigning appeals in the approximate order of receipt. Your appeal has been assigned
number AP-2016-00612. Please mention this number in any future correspondence to this
Office regarding this matter. Please note that if you provide an e-mail address or another
electronic means of communication with your request or appeal, this Office may respond to your
appeal electronically even if you submitted your appeal to this Office via regular U.S. Mail.

       We will notify you of the decision on your appeal as soon as we can. If you have any
questions about the status of your appeal. you may contact me at the number above. If you have
submitted your appeal through this Office's online electronic appeal portal. you may also obtain
an update on the status of your appeal by logging into your portal account.

                                                     Sincerely,



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                                                      ~ ,:;:,
                                                       ~ - · ••
                                                                ~
                                                                 ••
                                                                       .                  -
                                                     Priscilla Jones
                                                     Supervisory Administrative Specialist
       Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 42 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY. PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ. A. No. I: 16-cv-O 1974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS. et al., )
                                        )
     Defendants.                        )
____ ___ ______ _ _ __)



                                Exhibit H
          Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 43 of 50

                                                     U.S. Department of Justice
                                                     Office of Information Policy



•
                                                     S11i1e I I 050
                                                     I-IJ5 Neir fork Avenue. XII"
                                                     Washing/on. DC 10530-000 I


Telephone: (202) 51 -1-36-12

                                                     March 16, 2016


Mr. Seth Watkins
Adduci, Mastriani & Schaumberg LLP
1133 Connecticut Avenue. NW                           Re:    Appeal No. AP-2016-00612
Washington. DC 20036                                         Request No. 1338949
watkins@ adduci.com                                          CDT:JMB

VIA: E-mail

Dear Mr. Watkins:

        You appealed on behalf of your client, Michael Schmidt of the New York Times. from
the action of the Federal Bureau of Investigation on your client's Freedom of Information Act
request for access to records concerning policies and procedures for use of the National Instant
Criminal Background Check System. I note that your appeal concerns only the FBI's
withholding of fifty-nine pages of responsive records.

         After carefully considering your appeal, I am affirming the FBI's action on your client's
request. The FOIA provides for disclosure of many agency records. At the same time, Congress
included in the FOIA nine exemptions from disclosure that provide protection for important
interests such as personal privacy. privileged communications, and certain law enforcement
activities. The FBI properly withheld this information in full because it is protected from
disclosure under the FOIA pursuant to 5 U.S.C. § 552(b)(7)(E). This provision concerns records
or information compiled for law enforcement purposes the release of which would disclose
techniques and procedures for law enforcement investigations or prosecutions.

        Please be advised that this Office's decision was made only after a full review of this
matter. Your appeal was assigned to an attorney with this Office who thoroughly reviewed and
analyzed your appeal, your client's underlying request. and the action of the FBI in response to
your client's request.

         If your client is dissatisfied with my action on your appeal, the FOIA permits your client
to file a lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

       For your information. the Office of Government Information Services (OGIS) offers
mediation services to resolve disputes between FOIA requesters and Federal agencies as a non-
exclusive alternative to litigation. Using OGIS services does not affect your client's right to
pursue litigation. The contact information for OGIS is as follows: Office of Government
Information Services, National Archives and Records Administration. Room 2510. 860 I Adelphi
        Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 44 of 50



                                            -2-

Road College Park, Maryland 20740-6001 ; e-mail at ogis@nara.gov; telephone at 202-741-
5770; toll free at l-877-684-6448· or facsimile at 202-741-5769.

                                                  Sincerely,
                                                                                          3/15/2016




                                                   Sean R. O'Nel
                                                   Chief, Adrrilistrative Appeals staff
                                                   Signed by: SEAN O'NEill
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 45 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY. PLLC            )
                                        )
     Plaintiff,                         )
                                        )
             v.                         )   Civ. A. No. l:16-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS. et al.. )
                                        )
     Defendants.                        )
____________)



                                Exhibit I
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 46 of 50

                                                                            U.S. Department of Justice




                                                                            Federal Bureau of Investigation
                                                                            Washington, D. C. 20535

                                                                            November 10, 2015

MR. SETH A WATKINS PHD
ADDUCI, MASTRIANI & SCHAUMBERG LLP
1133 CONNECTICUT AVENUE , NW
WASHINGTON, DC 20036

                                                                 FOIPA Request No. 1338965-000
                                                                 Subject ALL COMMUNICATIONS
                                                                 BETWEEN US ATTORNEY GENERAL AND
                                                                 VETERANS ADMINISTRATION
                                                                 (REQUIREMENTS CONCERNING
                                                                 PERSONS PROHIBITED FROM
                                                                 PURCHASING FIREARMS)

Dear Mr. Watkins:

        This acknowledges receipt of your Freedom of Information Act (FOIA) request to the FBI.

                    Your request has been received at FBI Headquarters for processing .

        r           Your request has been received at the _ __ Resident Agency/ _ _ _ Field Office and
                    forwarded to FBI Headquarters for processing.

        r           You submitted your request via the FBl's eFOIA system

                    r        We have reviewed your request and determ ined that it is compliant with
                             the terms and conditions of the eFOIA system. You will continue to receive
                             correspondence online.

                    r        We have reviewed your request and determined that it is not in compliance with the
                             terms and conditions of the eFOIA system . Future correspondence will be mailed
                             to you .

                    We are searching the indices to our Central Records System for the information responsive
                    to this request. We will inform you of the results in future correspondence.

        r           The subject of your request is currently being processed for public release. Documents will
                    be released to you upon completion.

        r           Release of responsive records will be made to the FBl's FOIA Library (The Vault),
                    http/vaultfbi.gov, and you will be contacted when the release is posted .

        r           Your request for a fee waiver is being considered and you will be advised of the decision at
                    a later date. If your fee waiver is denied, you will be charged fees in accordance with the
                    category designated below.
       Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 47 of 50

                  For the purpose of assessing fees, we have made the following determination:

                  r         As a commercial use requester, you will be charged applicable search, review, and
                            duplication fees in accordance with 5 USC§ 552 (a)(4)(A)(ii)(I).

                  r         As an educational institution, noncommercial scientific institution or representative
                            of the news media requester, you will be charged applicable duplication fees in
                            accordance with 5 USC§ 552 (a)(4)(A)(ii)(II).

                            As a general (all others) requester, you will be charged applicable search and
                            duplication fees in accordance with 5 USC§ 552 (a)(4)(A)(ii)(III).




        Please check for the status of your FOIPA request at www.fbi .gov/foia by clicking on Check the
Status of Your FOIPA Request under Records Available Now located on the right side of the page. Status
updates are adjusted weekly. The status of newly assigned requests may not be available until the next
weekly update If the FOIPA has been closed the notice will indicate that appropriate correspondence has
been mailed to the address on file.

        For questions regarding our determinations, visit the www.fb i. gov/foia website under "Contact Us."
The FOIPA Request number listed above has been assigned to your request Please use this number in all
correspondence concerning your request Your patience is appreciated.


          Should you disagree with any determination referenced in this letter, you may file an appeal by writing
to the Director, Office of Information Policy (OIP), U.S. Department of Justice, 1425 New York Ave., NW, Suite
11050, Washington, D.C. 20530-0001, or you may submit an appeal through OIP's eFOIA portal at
http://www. justice.gov/oip/efoia-portal.html. Your appeal to OIP must be postmarked or transmitted within
sixty (60) days from the date of this letter in order to be considered timely. The envelope and the letter should
be clearly marked "Freedom of Information Appeal." Please cite the FOIPA Request Number in any
correspondence to us for proper identification of your request




                                                                  Sincerely,


                                                                   ~
                                                                  David M. Hardy
                                                                  Section Chief,
                                                                  Record/Information
                                                                    Dissemination Section
                                                                  Records Management Division
       Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 48 of 50




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                        )
WATKINS LAW & ADVOCACY. PLLC            )
                                        )
     Plaintiff.                         )
                                        )
             v.                         )   Civ.A.No. I:I6-cv-01974-ABJ
                                        )
DEPARTMENT OF VETERANS AFFAIRS, et al., )
                                        )
     Defendants.                        )
_________________)




                                Exhibit J
      Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 49 of 50

                                                                               U.S. Department of Justice




                                                                               Federal Bureau of Investigation
                                                                               Washington, D. C 20535


                                                                               November 25, 2015

MR SETH WATKINS PHD
ADDUCI, MASTRIANI & SCHAUMBERG LLP
1133 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036

                                                                 FOIPA Request No.: 1338965-000
                                                                 Subject ALL COMMUNICATIONS
                                                                 BETWEEN US ATTORNEY GENERAL AND
                                                                 VETERANS ADMINISTRATION
                                                                 (REQUIREMENTS CONCERNING
                                                                 PERSONS PROHIBITED FROM
                                                                 PURCHASING FIREARMS)

Dear Mr. Watkins:

         This is in response to your Freedom of Information Act (FOIA) request.

         Based on the information you provided, we conducted a search of the Central Records System. We
were unable to identify main file records responsive to the FOIA. If you have additional information pertaining
to the subject that you believe was of investigative interest to the Bureau, please provide us the details and we
will conduct an additional search.

           For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA. See 5 U.S. C. § 552(c) (2006 & Supp. IV (2010). This
response is limited to those records that are subject to the requirements of the FOIA This is a standard
notification that is given to all our requesters and should not be taken as an indication that excluded records
do, or do not, exist.

        For questions regarding our determinations, visit the www.fbi.gov/foia website under "Contact Us."
The FOIPA Request Number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request. Your patience is appreciated.

          You may file an appeal by writing to the Director, Office of Information Policy (OIP), U.S. Department
of Justice, 1425 New York Ave, NW, Suite 11050, Washington , D.C. 20530-0001, or you may submit an
appeal through OIP's eFOIA portal at http://www.justice.gov/oip/efoia-portal.html. Your appeal must be
received by OIP within sixty (60) days from the date of this letter in order to be considered timely. The
envelope and the letter should be clearly marked "Freedom of Information Appeal." Please cite the FOIPA
Request Number in any correspondence to us for proper identification of your request.

         Enclosed for your information is a copy of the FBI Fact Sheet.

                                                                  Sincerely,


                                                                   ~
                                                                  David M. Hardy
                                                                  Section Chief,
                                                                  Record/Information
                                                                   Dissemination Section
                                                                  Records Management Division

Enclosure
               Case 1:17-cv-01974-ABJ Document 20-5 Filed 12/10/18 Page 50 of 50




                                            FBI FACT SHEET

•   The primary functions of the FBI are national security and law enforcement.

•   The FBI does not keep a file on every citizen of the United States.

•   The FBI was not established until 1908 and we have very few records prior to the 1920s.

•   FBI files generally contain reports of FBI investigations of a wide range of matters, including counterterrorism,
    counter-intelligence, cyber crime, public corruption , civil rights, organized crime, white collar crime, major thefts,
    violent crime, and applicants.

•   The FBI does not issue clearances or non-clearances for anyone other than its own personnel or persons
    having access to FBI facilities. Background investigations for security clearances are conducted by many
    different Government agencies. Persons who received a clearance while in the military or employed with some
    other government agency should contact that entity. Most government agencies have websites which are
    accessible on the internet which have their contact information.

•   A criminal history summary check or "rap sheet" is NOT the same as an "FBI file." It is a listing of information
    taken from fingerprint cards and related documents submitted to the FBI in connection with arrests, federal
    employment, naturalization or military service. The subject of a "rap sheet" may obtain a copy by submitting a
    written request to FBI, Criminal Justice Information Services (CJIS) Division, Record Request, 1000 Custer Hollow
    Road , Clarksburg, West Virginia 26306. Along with a specific written request, the individual must submit a new full
    set of his/her fingerprints in order to locate the record, establish positive identification, and ensure that an
    individual's records are not disseminated to an unauthorized person. The fingerprint submission must include the
    subject's name, date and place of birth. There is a required fee of $18 for this service, which must be submitted by
    money order or certified check made payable to the Treasury of the United States. A credit card payment option is
    also available. Forms for this option and additional directions may be obtained by accessing the FBI Web site at
    www.fbi .gov/about-us/cj is/backg round-checks/background_checks.

•   The National Name Check Program (NNCP) conducts a search of the FBl·s Universal Index (UNI) to identify any
    information contained in FBI records that may be associated with an individual and provides the results of that
    search to a requesting federal, state or local agency. Names are searched in a multitude of combinations and
    phonetic spellings to ensure all records are located . The NNCP also searches for both "main" and "cross
    reference"' files. A main file is an entry that carries the name corresponding to the subject of a file, while a cross
    reference is merely a mention of an individual contained in a file. The results from a search of this magnitude can
    result in several "hits" and ·'idents" on an individual. In each instance where UNI has identified a name variation or
    reference, information must be reviewed to determine if it is applicable to the individual in question.

•   The Record/Information Dissemination Section (RIDS) searches for records and provides copies of FBI files
    responsive to Freedom of Information or Privacy Act (FOIPA) requests for information. RIDS provides responsive
    documents to requesters seeking "reasonably described information." For a FOIPA search, the subject's name,
    event, activity, or business is searched to determine whether there is an associated investigative file. This is called
    a "main file search" and differs from the NNCP search.

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                                          www.fbi.gov




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